                   Case 24-12245-KBO               Doc 213        Filed 11/12/24         Page 1 of 7




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    Biolase, Inc., et al.,1                                    Case No. 24-12245 (KBO)

                     Debtors.                                  (Jointly Administered)


                   SECOND AMENDED2 NOTICE OF AGENDA FOR HEARING
                         ON NOVEMBER 12, 2024 AT 1:00 P.M. (ET)3


               This proceeding will be in-person. All counsel and witnesses are expected to
                          attend unless permitted to appear remotely via Zoom.

                         Please refer to Judge Owens’s Chambers Procedures
                    (https://www.deb.uscourts.gov/content/judge-karen-b-owens)
      and the Court’s website (http://www.deb.uscourts.gov/ecourt-appearances) for information
        on who may participate remotely, the method of allowed participation (video or audio),
    Judge Owens’s expectations of remote participants, and the advance registration requirements.

              Registration is required by 4:00 p.m. (Eastern time) the business day before the
               hearing unless otherwise noticed using the eCourtAppearances tool available
                                           on the Court’s website.

                   Once registered, parties will receive a confirmation email containing
                               personal log-in information for the hearing.


MATTERS GOING FORWARD:

1.           Debtors’ Motion for Entry of Orders (I)(A) Approving Bidding Procedures for the Sale of
             Substantially All of the Debtors’ Assets, (B) Designating the Stalking Horse Bidder, (C)
             Scheduling an Auction and Approving the Form and Manner of Notice Thereof, (D)
             Approving Assumption and Assignment Procedures, (E) Scheduling a Sale Hearing and
             Approving the Form and Manner of Notice Thereof and (F) Granting Related Relief; and

1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are: Biolase, Inc. (2441); BL Acquisition Corp. (4140); BL Acquisition II, Inc. (6022); and Model Dental
      Office, LLC (9372). The Debtors’ headquarters are located at 27042 Towne Centre Drive, Suite 270, Foothill
      Ranch, CA 92610-2811.
2
      Amended items appear in bold.
3
      All motions and other pleadings referenced herein are available online at the following address:
      https://dm.epiq11.com/case/biolase.


11873942
                 Case 24-12245-KBO         Doc 213     Filed 11/12/24     Page 2 of 7




           (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear of All Liens, Claims,
           Interests, and Encumbrances, (B) Approving the Assumption and Assignment of Certain
           Executory Contracts and Unexpired Leases, and (C) Granting Related Relief [Docket No.
           11 – filed on October 1, 2024]

           Sale Objection/Response Deadline:            November 4, 2024 at 4:00 p.m. (ET);
                                                        extended until November 7, 2024 at 4:00
                                                        p.m. for the Office of the United States
                                                        Trustee for the District of Delaware (the
                                                        “U.S. Trustee”) and the Official Committee
                                                        of Unsecured Creditors (the “Committee”).

           Sale Objections/Responses Received:

           A.     Omnibus Objection of the Official Committee of Unsecured Creditors to the
                  Debtors’ Motion for Interim and Final Orders (I) Authorizing the Debtors to Obtain
                  Debtor-In-Possession Financing and Use Cash Collateral; (II) Granting Adequate
                  Protection; and (III) Granting Related Relief; and (ii) Debtors’ Motion for Entry of
                  Orders (I)(A) Approving Bidding Procedures for the Sale of Substantially All of
                  the Debtors’ Assets, (B) Designating the Stalking Horse Bidder, (C) Scheduling an
                  Auction and Approving the Form and Manner of Notice Thereof, (D) Approving
                  Assumption and Assignment Procedures, (E) Scheduling a Sale Hearing and
                  Approving the Form and Manner of Notice Thereof and (F) Granting Related
                  Relief; and (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear of All
                  Liens, Claims, Interests, and Encumbrances, (B) Approving the Assumption and
                  Assignment of Certain Executory Contracts and Unexpired Leases, and (C)
                  Granting Related Relief [Docket No. 194 – filed on November 7, 2024]

           B.     Motion of the Debtors for Leave to File and Serve a Late Reply in Response to
                  the Official Committee of Unsecured Creditor’s Omnibus Objection [Docket
                  No. 206 – filed on November 11, 2024]

           C.     Debtors’ Omnibus Reply to the Official Committee of Unsecured Creditors’
                  Objections to the Debtors’ (I) DIP Financing Motion and (II) Sale Motion
                  [Docket No. 207 – filed on November 11, 2024]

           D.     Sonendo, Inc.’s Reply in Opposition to the Omnibus Objection of the Official
                  Committee of Unsecured Creditors to the DIP Motion and the Sale Motion
                  [Docket No. 208 – filed on November 11, 2024]

           Cure Objection Deadline:                     November 4, 2024 at 4:00 p.m. (ET).
                                                        Extended to November 6, 2024 at 4:00 p.m.
                                                        for Foothill Corporate I MT, LLC. Extended
                                                        until November 6, 2024 at 4:00 p.m. for
                                                        Optek Systems.



                                                   2
11873942
                Case 24-12245-KBO         Doc 213       Filed 11/12/24   Page 3 of 7




           Cure Objections/Responses Received:

           A.    Informal response from Foothill Corporate I MT, LLC

                 Status: This matter is resolved.

           B.    Objection of OpTek Systems Inc. to Debtors' Amended Notice of Cure Costs and
                 Potential Assumption and Assignment of Executory Contracts and Unexpired
                 Leases in Connection with Sale of Substantially All Assets [Docket No. 190 – filed
                 on November 6, 2024]

                 Status: This matter is being adjourned to the next omnibus hearing.

           Related Documents:

           A.    Order (A) Approving Bidding Procedures for the Sale of Substantially all of the
                 Debtors’ Assets, (B) Designating the Stalking Horse Bidder, (C) Scheduling an
                 Auction and Approving the Form and Manner of Notice Thereof, (D) Approving
                 Assumption and Assignment Procedures, (E) Scheduling a Sale Hearing and
                 Approving the Form and Manner of Notice Thereof and (F) Granting Related Relief
                 [Docket No. 115 – filed on October 17, 2024]

           B.    Notice of Sale, Bidding Procedures, Auction, Sale Hearing and Other Deadlines
                 Related Thereto [Docket No. 116 – filed on October 17, 2024]

           C.    Notice of Cure Costs and Potential Assumption and Assignment of Executory
                 Contracts and Unexpired Leases in Connection with Sale of Substantially All
                 Assets [Docket No. 120 – filed on October 21, 2024]

           D.    Amended Notice of Cure Costs and Potential Assumption and Assignment of
                 Executory Contracts and Unexpired Leases in Connection with Sale of
                 Substantially All Assets [Docket No. 139 – filed on October 24, 2024]

           E.    Affidavit of Publication of Notice of Sale, Bidding Procedures, Auction, Sale
                 Hearing and Other Deadlines Related Thereto in USA TODAY [Docket No. 141 –
                 filed on October 25, 2024]

           F.    Second Amended Notice of Cure Costs and Potential Assumption and Assignment
                 of Executory Contracts and Unexpired Leases in Connection with Sale of
                 Substantially All Assets [Docket No. 181 – filed on November 1, 2024]

           G.    Notice of Virtual Auction of the Debtors’ Assets [Docket No. 182 – filed on
                 November 3, 2024]

           H.    Notice of Auction Results [Docket No. 189 - filed on November 5, 2024]



                                                    3
11873942
                 Case 24-12245-KBO         Doc 213      Filed 11/12/24    Page 4 of 7




           I.     Notice of Filing of Proposed Sale Order [Docket No. 199 - filed on November 8,
                  2024]

           J.     Notice of Filing Proposed Asset Purchase Agreement Between the Debtors and
                  Successful Bidder [Docket No. 200 - filed on November 8, 2024]

           K.     Notice of Filing Auction Transcript [Docket No. 202 – filed on November 11,
                  2024]

           L.     Notice of Filing of Revised Proposed Sale Order [Docket No. 204 – filed on
                  November 11, 2024]

           M.     Supplemental Declaration of Craig D. Warznak in Support of the Debtors’
                  Motion for Entry of Order (A) Approving the Sale of the Debtors’ Assets Free
                  and Clear of Liens, Claims, Interests, and Encumbrances, (B) Approving the
                  Assumption and Assignment of Certain Executory Contracts and Unexpired
                  Leases, and (C) Granting Related Relief [Docket No. 205 – filed on November
                  11, 2024

           Witness Information: The Debtors intend to offer testimony from Craig Warznak.

           Status: This matter will be going forward.

2.         Motion of the Debtors for Interim and Final Orders (I) Authorizing the Debtors to Obtain
           Postpetition Financing and Use Cash Collateral; (II) Granting Adequate Protection; and
           (III) Granting Related Relief [Docket No. 17 - filed on October 2, 2024]

           Response/Objection Deadline:         October 21, 2024 at 4:00 p.m. (ET); extended for the
                                                U.S. Trustee and the Committee

           Responses Received:

           i.     Informal comments from the U.S. Trustee

           ii.    Omnibus Objection of the Official Committee of Unsecured Creditors to the
                  Debtors’ Motion for Interim and Final Orders (I) Authorizing the Debtors to Obtain
                  Debtor-In-Possession Financing and Use Cash Collateral; (II) Granting Adequate
                  Protection; and (III) Granting Related Relief; and (ii) Debtors’ Motion for Entry of
                  Orders (I)(A) Approving Bidding Procedures for the Sale of Substantially All of
                  the Debtors’ Assets, (B) Designating the Stalking Horse Bidder, (C) Scheduling an
                  Auction and Approving the Form and Manner of Notice Thereof, (D) Approving
                  Assumption and Assignment Procedures, (E) Scheduling a Sale Hearing and
                  Approving the Form and Manner of Notice Thereof and (F) Granting Related
                  Relief; and (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear of All
                  Liens, Claims, Interests, and Encumbrances, (B) Approving the Assumption and
                  Assignment of Certain Executory Contracts and Unexpired Leases, and (C)
                  Granting Related Relief [Docket No. 194 – filed on November 7, 2024]

                                                   4
11873942
                  Case 24-12245-KBO       Doc 213     Filed 11/12/24     Page 5 of 7




           iii.   Motion of the Debtors for Leave to File and Serve a Late Reply in Response to
                  the Official Committee of Unsecured Creditor’s Omnibus Objection [Docket
                  No. 206 – filed on November 11, 2024]

           iv.    Debtors’ Omnibus Reply to the Official Committee of Unsecured Creditors’
                  Objections to the Debtors’ (I) DIP Financing Motion and (II) Sale Motion
                  [Docket No. 207 – filed on November 11, 2024]

           v.     Sonendo, Inc.’s Reply in Opposition to the Omnibus Objection of the Official
                  Committee of Unsecured Creditors to the DIP Motion and the Sale Motion
                  [Docket No. 208 – filed on November 11, 2024]

           Related Documents:

           A.     Declaration of Craig D. Warznak in Support of the Debtors’ Motion for Interim and
                  Final Orders (I) Authorizing the Debtors to Obtain Postpetition Financing and Use
                  Cash Collateral; (II) Granting Adequate Protection; and (III) Granting Related
                  Relief [Docket No. 18 - filed on October 2, 2024]

           B.     Declaration of John R. Beaver in Support of Chapter 11 Petitions and First Day
                  Motions [Docket No. 19 - filed on October 2, 2024]

           C.     Notice of Filing of Revised Order (I) Authorizing the Debtors to Obtain
                  Postpetition Financing and Use Cash Collateral; (II) Granting Adequate Protection;
                  (III) Granting Related Relief [Docket No. 49 – filed on October 3, 2024]

           D.     Certification of Counsel Regarding Revised Proposed Interim Order (I)
                  Authorizing the Debtors to Obtain Postpetition Financing and Use Cash Collateral;
                  (II) Granting Adequate Protection; and (III) Granting Related Relief [Docket No.
                  65 – filed on October 3, 2024]

           E.     Order (I) Authorizing the Debtors to Obtain Postpetition Financing and Use Cash
                  Collateral; (II) Granting Adequate Protection; and (III) Granting Related
                  Relief [Docket No. 66 – entered on October 3, 2024]

           F.     Omnibus Notice of Second Day Hearing to be Held on October 28, 2024 at 10:00
                  a.m. (ET) [Docket No. 69 – filed on October 3, 2024]

           G.     Certification of Counsel Regarding Second Interim Order (I) Authorizing the
                  Debtors to Obtain Postpetition Financing and Use Cash Collateral; (II) Granting
                  Adequate Protection; and (III) Granting Related Relief [Docket No. 165 – filed on
                  October 26, 2024]




                                                  5
11873942
                 Case 24-12245-KBO        Doc 213      Filed 11/12/24       Page 6 of 7




           H.     Second Interim Order (I) Authorizing the Debtors to Obtain Postpetition Financing
                  and Use Cash Collateral; (II) Granting Adequate Protection; and (III) Granting
                  Related Relief [Docket No. 168 – entered on October 28, 2024]

           I.     Notice of Filing of Proposed Final Order (A) Authorizing the Debtors to
                  Obtain Postpetition Financing and use Cash Collateral; (II) Granting
                  Adequate Protection; and (III) Granting Related Relief [Docket No. 209 – filed
                  on November 11, 2024]

           Status: This matter is going forward.




                              Remainder of page intentionally left blank.




                                                   6
11873942
            Case 24-12245-KBO   Doc 213   Filed 11/12/24    Page 7 of 7




Dated: November 12, 2024          Respectfully submitted,
       Wilmington, Delaware
                                  /s/ Maria Kotsiras
                                  M. Blake Cleary (No. 3614)
                                  Brett M. Haywood (No. 6166)
                                  Maria Kotsiras (No. 6840)
                                  Shannon A. Forshay (No. 7293)
                                  POTTER ANDERSON & CORROON LLP
                                  1313 N. Market Street, 6th Floor
                                  Wilmington, Delaware 19801
                                  Telephone: (302) 984-6000
                                  Facsimile: (302) 658-1192
                                  Email: bcleary@potteranderson.com
                                         bhaywood@potteranderson.com
                                         mkotsiras@potteranderson.com
                                         sforshay@potteranderson.com

                                  -and-

                                  Joshua D. Morse (admitted pro hac vice)
                                  Claire K. Wu (admitted pro hac vice)
                                  PILLSBURY WINTHROP SHAW PITTMAN LLP
                                  Four Embarcadero Center, 22nd Floor
                                  San Francisco, CA 94111-5998
                                  Telephone: (415) 983-1000
                                  Facsimile: (415) 983-1200
                                  Email: joshua.morse@pillsburylaw.com
                                          claire.wu@pillsburylaw.com

                                  Dania Slim (admitted pro hac vice)
                                  Caroline Tart (admitted pro hac vice)
                                  PILLSBURY WINTHROP SHAW PITTMAN LLP
                                  31 West 52nd Street
                                  New York, NY 10019-6131
                                  Telephone: (212) 858-1000
                                  Facsimile: (212) 858-1500
                                  Email: dania.slim@pillsburylaw.com
                                          caroline.tart@pillsburylaw.com

                                  Counsel to the Debtors and Debtors in Possession




                                      7
11873942
